                        Case 4:14-cr-00005-DPM                    Document 392                   Filed 07/28/15         Page 1 of 5
AO 245B       (Rev. 09111) Judgment in a Criminal Case
              Sheet I
                                                                                                                             FILED
                                                                                                                           U.S. DISTRICT COURT
                                                                                                                       EASTERN DISTRICT ARK.as·$



                                          UNITED ST A TES DISTRICT COURT
                                                                                                                  JAMESW.
                                                            Eastern District of Arkansas                          By: ___¥-4"-"---\~~~........,---
                                                                          )                                                                DEP C ERK
              UNITED STATES OF AMERICA                                    )              .JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                                                                          )
                         Mario Martinez                                                  Case Number: 4:14-cr-5-DPM-10
                                                                          )
                                                                          )              USM Number: 28601-009
                                                                          )
                                                                          }              Jeffrey M. Rosenzweig
                                                                                         D.:fo:mlnnt's Attorney
THE DEFENDANT:
[ifpleaded guilty to count(s)          1O of the Superseding Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                                 Offense Ended

 21 U.S.C. § 841(a){1) &           Distribution of Methamphetamine, a Class A Felony                                 11/13/2013               10

 (b)(1 )(a)



       The defendant is sentenced as provided in pages 2 through                     5           of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defondant has been found not guilty on count(s)
it'count(s)       1                                      fi( is     Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name. residence.
or mailing address until all fines, restitution, costs, and special assessments imposed by th is judgment are fully paid. Jforctered to pav restitution.
the defenoant must notify the court and United States attorney of material changes in economic circumstances.                             •

                                                                              7/22/2015
                                                                              Dale of ln1pus1tiun of Judgment




                                                                              O.P. Marshall Jr.                                     '.
                                                                                                                              u_:~ District.J_l!dge
                                                                              Name and Tith: of Judge



                                                                              Date
                         Case 4:14-cr-00005-DPM                    Document 392            Filed 07/28/15      Page 2 of 5
AO :!45B     (Rev. 09111) Judgment in Criminal l 'nsc
             Sheet 2 - Imprisonment

                                                                                                       Judgment -   Page   2    of   5
 DEFENDANT: Mario Martinez
 CASE NUMBER: 4:14-cr-5-DPM-10


                                                                  IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Rureau of Prisons to be imprisoned for a
 total term of:
  57 months, with credit for time served in Federal custody. The Bureau of Prisons shall determine whether Martinez is entitled
  to credit for time served in state custody. See PSR 1127.



     ilf' The court makes the following recommendations to the Bureau of Prisons:
  1) that Martinez participate in educational and vocational programs during incarceration; and
  2) designation to the same facility as Martinez's brother, Cristian Martinez (E.D. Ark. No. 4:14-cr-5-DPM-9), to facilitate
  visitation with the brothers' family.

     ~ The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
           D at                                         D a.m.       D p.m.      on
           D as notified by the United States Marshal.

     D The defendant shall stnTender for service of sentence at the institution designated by tht.: Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Onice.


                                                                        RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                             LO


 a                                                . -·-- .• with a certified copy of this judgmem.



                                                                                                     UN!Tf:D STATES MARSIIAI.


                                                                               By
                        Case 4:14-cr-00005-DPM                  Document 392             Filed 07/28/15          Page 3 of 5
AO 2-15B      (Rev. 09111) Judgment in a Criminal Case
              Sheet 3 - Supervised Rekas<.'
                                                                                                            Judgment- Pag~ _          of
DEFENDANT: Mario Martinez
CASE NUMBER: 4:14-cr-5-0PM-10
                                                         SUPERVISED RELEASE
 Upon release from imprisonment. the defendant shall be on supervised release for a term or:
 None.


        The defendant must report to the probation office in the district lo which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, slate or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit lo one drug test within l 5 days of release from imprisonment ana at least two periodic drug tests
thereafter, as detennined by the court.
D        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
         future substance abuse. (Check. ifapplirnhle.)

D        The de fondant shall not possess a firearm. ammunition, destructive device, or any other dangerous weapon, (Cht?ck. if applicuhle.i
D        The defendant shall cooperate in the collection of DNA as directed by the probation officer. rcfl.,ck. ifapplimhle.)

D                                                         .or
                                                                                                                                  *
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. 16901. et seq.)
         as direc_ted by the probation offi~er, the Burea~ Prisons. or any state sex offonder registration agency in which he or she resides,
         works, 1s a student, or was convicted of a qualify mg offense. (C'h..!ck. 1fappl1cuhle.J

D        The defendant shall participate in an approved program for domestic violence. (Check. ifappltcuhle.J
        If this judgment imposes a tine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           ST AND ARD CONDITIONS OF SUPERVISION
    I)     the defendant shall not leave the judicial district without the pennission of the court or probation officer;
    2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
    3)     the defendant shall answer truthfully all inquiries by the probation ollicer and follow the instructions of the probation officer:
    4)     the defendant shall support his or her dependents and meet other family responsibilities:
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances arc illegally sold, used, distributed. or administered;
    9)     the defendant shall not associate with any r.ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony. unless granted permission to do so by the probation officer;
  JO)      the defendant shall permit a probation otlicer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer:
  II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:
  12)      the defendant shall not enter into any agreement to act as an in fonner or a special agent of a law enforcement agency without the
           permission of the court; and

  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or personal history or characteristics and shall permit the probation officer to make such notifications and lo confinn the
           defendant s compliance with such notification requirement.
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AO '.!4513   (Rev. 09/11) Judgment in a Criminal Case
             Sheet 5 - Criminal Mom:tary Penalties
                                                                                                                    Judi;mcnt - Pai;e        uf
 DEFENDANT: Mario Martinez
 CASE NUMBER: 4:14-cr-5-DPM-10
                                                  CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule ofpaymenrs on Sheet 6.

                       Assessment                                                   Fine                                   Restitution
 TOTALS              $ 100.00                                                     s 0.00                                $ 0.00



 0 The determination of restitution is deferred until                             . An Amended .ludgme11t in u Criminal Case rAO 2./5CJ will be entered
       after such detennination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each pavce shall receive an approximately proportioned J?ayment. unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonl'ederaf victims must be paid
       before the United States is patd.

 Name of Payee                                                                       Total Loss*         Restitution Ordered Priority or Percentage




 TOTALS                                $                               0.00            s                       0.00


 D      Restitution amount ordered pursuant to plea agreement S

 D      The defendant must pay interest on restitution and a line of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and defau It. pursuant to 18 U.S.C. § 3612(g).

 D      The court dctennined that the de fondant does not have the ability to pay interest and it is ordered that:
        D the interest requirement is waived for the               0       fine     D restitution.
        D the interest requirement for the              D   line       0      restitution is modified as follows:



 * Findings forthe total amount oflosses arc required under Chapters I09A, 110. 11 OA. and I I 3A of Title 18 for offenses committed on or aner
 September 13, 1994. but before April 23, 1996.
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AO 24511   (Rel'. 09/1 J) Judgment in a Criminal Cu~e
           Sheet 6 - Schcduk of Payments
                                                                                                                       Judgmcm -- Page        5__     of           5
DEFENDANT: Mario Martinez
C.i\SE NUMBER: 4:14-cr-5-DPM-10

                                                            SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay. payment of the total criminal monetal)' penalties is due as follows:

A     ri/ I.ump sum payment of$              100.00                 due immediately. balance due

                  not later than                                         , or
                  in accordance            D c.         0    D,    D       E.or      ~ F below; or
 B    D Payment to begin immediately (may be combined with                        oc.          DD. or         D f below); or
C     D Payment in equal                                (q~.. week(1·, 1110111'1(1'. q11arter(1'1 installments or $               __      _ ___ over a period of
                            re.g.. 11w111hs or years). to commence                            _ (e.g., 30 or 60 days) after the date of this judgment: or

 ()   D    Payment in equal            ·- ________ re.g, weekly, 1110111'1/y. quarterly) installments of $                    ______ over a period of
                            (e.g., 111m1ths oryearsJ, to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           tenn of supervision: or

 E    D    Payment during the term of supervised release will commence within          __    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment ofthc defendant's ability to pay at that time; or

 F    ri/ Special instructions regarding the payment of criminal monetal)' penalties:
            If Martinez is unable to pay the special assessment immediately, then during incarceration he shall pay 50 percent
            per month of all funds available to him until the assessment is paid in full.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, pavmentofcriminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through tt1e Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, arc made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (i11c/11di11g defr:nda1111111111ben. Total Amount. Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following coutt cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: ())assessment. (2) restitution principal, (3) restitution interest, (4) fine principal.
(5) tine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
